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                EXHIBIT 1




                                                          Exhibit 1
12/23/2020                                                           Tarrant County - Civil
                Case 4:20-cv-01363-O Document 1-2 Filed 12/23/20                              Page 2 of 17 PageID 8




                                  Civil Case and Transaction Information                                   12/23/2020 7:47 AM




    Court :       236         Case :       321592        Search     New Search         Show Service Documents ONLY


   Cause Number : 236-321592-20                                     Date Filed : 11-12-2020
                                      LETA ROCHE | VS | THE KROGER CO.
   Cause of Action : INJURY OR DAMAGE, OTHER INJURY OR DAMAGE
   Case Status : PENDING
   File Mark Description                                      Assessed Fee Credit/Paid Fee
     11-12-2020       ORIG PET                                                                             $289.00
                                                                                               N

     11-12-2020       PAYMENT RECEIVED trans #1                                                                        $289.00
                                                                                               Y

     11-12-2020       CIT-ISSUED ON THE KROGER CO-On                                                          $8.00
                      11/16/2020                                                              N Svc

     11-12-2020       PAYMENT RECEIVED trans #3                                                                           $8.00
                                                                                               Y

     12-15-2020       DEFN' ORIG ANS & VERIFIED DENIAL                                                                    $0.00




https://dcsa.tarrantcounty.com/Civil/NameSearch#/CaseAndTransInfo                                                                 1/2
12/23/2020                                                          Tarrant County - Civil
                Case 4:20-cv-01363-O Document 1-2 Filed 12/23/20                             Page 3 of 17 PageID 9




https://dcsa.tarrantcounty.com/Civil/NameSearch#/CaseAndTransInfo                                                    2/2
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                 EXHIBIT 2




                                                          Exhibit 2
            Case 4:20-cv-01363-O Document 1-2 Filed 12/23/20                               Page 5 of 17 PageID 11




                                                                                                                         TRL / ALL
                                                                                                     Transmittal Number: 22351406
Notice of Service of Process                                                                            Date Processed: 11/25/2020

Primary Contact:           Venessa C. Wickline Gribble
                           The Kroger Co.
                           1014 Vine Street
                           Cincinnati, OH 45202-1100

Entity:                                       The Kroger Co.
                                              Entity ID Number 2171751
Entity Served:                                The Kroger Co
Title of Action:                              Leta Roche vs. Kroger Texas, LP
Matter Name/ID:                               Leta Roche vs. Kroger Texas, LP (9856458)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Tarrant County District Court, TX
Case/Reference No:                            N/A
Jurisdiction Served:                          Texas
Date Served on CSC:                           11/24/2020
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Jack Downing
                                              817-860-5685

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 4:20-cv-01363-O Document 1-2 Filed 12/23/20 Page 6 of 17 PageID 12
                              THE STA`P~'~OFT~-, ~AS
                     DISTRICT COURT; ~ARRA 'I~Q~U,~T~YC ~ .
                                                         ... ...                        Case 4:20-cv-01363-O Document 1-2 Filed 12/23/20                                                                                                                                                      Page 7 of 17 PageID 13
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            - Cause No. 236=321592=20                                                                                                                                                                                                                                                                                                                                       "
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     LETA ROCHE                                                                                                                                                                                                                                         . ' :'                                                                                     ~,       .                           •        ..

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                         VS
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     THE KROGER CO                                                                                                                     ::

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 This:l6th day of November;:2020                                                                                                                                  . .            .
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           Thomas A Wilder .:
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. Tarrant      .       Distnct Clerk                                                                             :               ::                                                            :                     ,
  .      . . 100:. N CALHOUN     '                                                                                                                                                                                                                                                                                                                                                                                                .
    FORT W:ORTH.TX 76196-0402 ::
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 By.               IAN I'FISTERER Deputy                                                                                                                                                                                                                    .              :                                                                                                                                             . .

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     JACK DOWNING ::                              ..                                                                                                                                                                                                                                                                                                                                                        .
     Attorney for.::LETA..ROCHE                                                                                                                                                                                                               ,:
     Phone No. (817)860=5685 . .. . : .: .           .
     ADDRESS: :1178 W:PIONEER.:PKWY . ,:;
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  Case 4:20-cv-01363-O Document 1-2 Filed 12/23/20                   Page 8 of 17 PageID 14
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                                                                                           11/12/2020 5:01 PM
                                              236-321592-20                               THOMAS A. WILDER
                                CASE NO. _________________                                   DISTRICT CLERK

 LETA ROCHE,                                      §     IN THE DISTRICT COURT
                                                  §
                  Plaintiff,                      §
                                                  §
 v.                                               §      _____ JUDICIAL DISTRICT
                                                  §
 THE KROGER CO.                                   §
                                                  §
                  Defendant.                      §      TARRANT COUNTY, TEXAS


                                    ORIGINAL PETITION

         COMES NOW, Plaintiff Leta Roche and files this suit against Defendant THE KROGER

CO. and shows the following:

                                   PARTIES AND SERVICE

         1.    Plaintiff Leta Roche is an individual residing in Tarrant County, Texas.

         2.    Defendant THE KROGER CO. is a foreign corporation doing business in this state. It

can be served with process through its registered agent, Corporation Service Company, CSC-

Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

Citation is requested.

                                JURISDICTION AND VENUE

         3.    The subject matter in controversy is within the jurisdictional limits of the district

court.

         4.    Texas has personal jurisdiction over the Defendant.

         5.    Venue in Tarrant County is proper because all or a substantial part of the events or

omissions giving rise to this lawsuit occurred in this county.

______________________________________________________________________________
ORIGINAL PETITION – Roche v. Kroger
PAGE 1
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       6.     Plaintiff seeks monetary relief over $200,000 but not more than $1,000,000.

                                              FACTS

       7.      On or about September 24, 2019, Plaintiff entered Defendant’s store in Arlington,

Texas at Fielder and Pioneer Parkway. Plaintiff was going to get hummus. She picked up the

hummus and turned and slipped and fell. One of the refrigerators had been leaking water and

created a puddle. The fall resulted in injuries to her knees and back.

       8.      Plaintiff did not want to get surgery. She went through physical therapy to help

her knees. But she could not avoid surgery regarding her back. She has good days and bad days

with her knees and her back. She may have future medical bills related to these injuries because

of the ongoing pain and suffering.

                                      CAUSES OF ACTION

       9.      Defendant had a duty to keep its store clear of hazards. Defendant knew or

should have known that its refrigerator(s) were leaking water causing puddles that were

hazardous. Also, Defendant knew or should have known that that specific puddle existed

and was hazardous.

       10.     Plaintiff’s damages were proximately caused by Defendant failing to meet its

duty to keep its store clear of hazards.

       11.     Defendant is liable for its employees failing to keep its store clear of hazards that the

employees knew or should have known about.

                                            DAMAGES

       12.     As a direct and proximate result of the occurrence made the basis of this lawsuit,


______________________________________________________________________________
ORIGINAL PETITION – Roche v. Kroger
PAGE 2
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Plaintiff was caused to suffer bodily injury, and to incur the following damages:

               A.      Reasonable medical care and expenses in the past. These expenses were

incurred by Plaintiff for the necessary care and treatment of the injuries resulting from the fall

complained of herein and such charges are reasonable and were usual and customary charges for

such services in Tarrant County, Texas;

               B.      Reasonable and necessary medical care and expenses which will in all

reasonable probability be incurred in the future;

               C.      Physical pain and suffering in the past;

               D.      Physical pain and suffering in the future;

               E.      Physical impairment in the past and in the future;

               F.      Loss of earnings in the past;

               G.      Mental Anguish in the past;

               H.      Mental Anguish in the future; and

               I.      Loss of Consortium in the past.

                                             PRAYER

          Wherefore, Plaintiff Leta Roche respectfully requests that the Defendant THE

KROGER CO. be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for Plaintiff against Defendant together with prejudgment and post judgment

interest at the maximum rate allowed by law, and such other and further relief to which the Plaintiff

may be entitled at law or in equity.




______________________________________________________________________________
ORIGINAL PETITION – Roche v. Kroger
PAGE 3
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                                    Respectfully submitted,

                                    LAW OFFICE OF DWAIN DOWNING
                                    1178 W. Pioneer Pkwy
                                    Arlington, TX 76013
                                    Tel: (817) 860-5685
                                    Fax: (817) 916-8804


                                    /s/ Jack Downing
                                    Jack Downing
                                    Attorney at Law
                                    SBN: 24101708
                                    /s/ Dwain Downing
                                    Attorney at Law
                                    SBN: 06086550
                                    jack@downinglaw.net

                                    ATTORNEYS FOR PLAINTIFF




______________________________________________________________________________
ORIGINAL PETITION – Roche v. Kroger
PAGE 4
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                 EXHIBIT 3




                                                          Exhibit 3
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                                          236-321592-20                                              FILED
                                                                                        TARRANT COUNTY
                                                                                        12/15/2020 1:39 PM
                                                                                       THOMAS A. WILDER
                                    CAUSE NO. 236-321592-20                               DISTRICT CLERK


LETA ROCHE                                      §           IN THE DISTRICT COURT
      Plaintiff,                                §
                                                §
vs.                                             §           236TH JUDICIAL DISTRICT
                                                §
THE KROGER CO.                                  §
      Defendant.                                §           TARRANT COUNTY, TEXAS

                    DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL

         COMES NOW, Defendant, erroneously named as “The Kroger Co.” (“Defendant”), in the

above-entitled and numbered cause and files its Original Answer, and, in support thereof,

would respectfully show the Court as follows:

                                               I.
                                        VERIFIED DENIAL

         By way of verified denial pursuant to Rule 93 of the Texas Rules of Civil Procedure,

Defendant denies that Plaintiff is entitled to recover from “The Kroger Co.” in the capacity in

which this entity has been sued. See, e.g., Ray Malooly Trust v. Juhl, 186 S.W.3d 568, 571 (Tex.

2006).

                                              II.
                                        GENERAL DENIAL

         Defendant denies each and every, all and singular, the material allegations contained in

Plaintiff’s Original Petition, demands strict proof thereof and, to the extent that such matters

are questions of fact, says Plaintiff should prove such facts by a preponderance of the evidence

to a jury if she can so do.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                        Page 1 of 5
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                                               III.
                                            DEFENSES

         1.     Defendant had neither actual nor constructive knowledge of the condition about

which Plaintiff complains, and further asserts that, in any event, the alleged hazard was not

“unreasonably dangerous.”

         2.     Plaintiff’s damages or injuries, if any, were caused by the acts of third persons

not under the control of Defendant. Such acts or omissions of said third persons were the sole

and/or a producing and/or a proximate and/or an intervening and/or a supervening cause of

Plaintiff’s damages or injuries, if any.

         3.     The alleged premises condition of which Plaintiff complains was already

appreciated by Plaintiff, was open and obvious, was not concealed, and/or was a known risk

and, therefore, Defendant denies that it owed any duty to warn Plaintiff of the alleged premises

condition or protect Plaintiff from same. Austin v. Kroger Texas L.P., 465 S.W.3d 193, 203 (Tex.

2015).

         4.     Plaintiff failed to use that degree of care and caution that would have been used

by a reasonable person under the same or similar circumstances, thereby producing or

proximately causing or contributing to cause Plaintiff’s injuries and damages, if any. Such acts

or omissions of Plaintiff were the sole and/or a producing and/or a proximate and/or a

supervening and/or an intervening cause of Plaintiff’s damages or injuries, if any.

         5.     In the alternative, the accident complained of was an unavoidable accident, as

that term is defined under Texas law.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                        Page 2 of 5
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       6.      Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       7.      In the unlikely event an adverse judgment is rendered against Defendant in this

matter, Defendant respectfully prays for contribution, indemnity and/or all available credits as

provided for in the Texas Civil Practice and Remedies Code and under Texas law.

       8.      The damages about which Plaintiff complains, if any, were the result of prior or

pre-existing or subsequent injuries, accidents or conditions, and said prior or pre-existing or

subsequent injuries, accidents or conditions were the sole and/or a contributing cause of

Plaintiff’s damages alleged against Defendant.

       9.      Plaintiff breached her duty to mitigate damages by failing to exercise reasonable

care and diligence to avoid loss and minimize the consequences of damages.

       10.     Plaintiff is malingering and/or exaggerating the nature and severity of her

injuries in order to continue treatment, and accordingly, Defendant contends said treatment is

not medically necessary or reasonable.

       11.     Any claims for medical or health care expenses incurred are limited to the

amount actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil Practice and

Remedies Code §41.0105.

       12.     Pursuant to Texas Civil Practice & Remedies Code § 18.091, to the extent that

Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of earning capacity and/or

loss of contributions of pecuniary value, evidence of such alleged losses must be presented by




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                          Page 3 of 5
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Plaintiff in the form of a net loss after reduction for income tax payments, or unpaid tax liability

to any federal income tax law.

                                             IV.
                                  COURT REPORTER REQUESTED

       Defendant respectfully demands a court reporter be present at all proceedings before

the Court.

                                                 V.
                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant The Kroger Co. respectfully prays that

Plaintiff take nothing by this cause of action; that she be ordered to re-plead to cure the

deficiencies in her Original Petition; and that Defendant be permitted to recover the costs

expended on its behalf. Defendant also prays for all other and further relief, both general and

special, at law and in equity, to which it shows itself to be justly entitled.

                                               Respectfully submitted,
                                                /s/ B. Kyle Briscoe
                                               B. Kyle Briscoe
                                               State Bar No. 24069421
                                               kbriscoe@peavlerbriscoe.com
                                               Michael W. Stumbaugh
                                               State Bar No. 24041987
                                               mstumbaugh@peavlerbriscoe.com
                                               PEAVLER|BRISCOE
                                               2215 Westgate Plaza
                                               Grapevine, Texas 76051
                                               214-999-0550 (telephone)
                                               214-999-0551 (fax)
                                               ATTORNEYS FOR DEFENDANT




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                           Page 4 of 5
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                                                      VERIFICATION

     STATE OF TEXAS                               §
                                                  §
     COUNTY OF TARRANT                            §

            Before me, the undersigned authority, did personally appear Michael W . Stumbaugh,
     who upon his oath deposes and says that he is one of the attorneys for Defendant, that he has
     never been convicted of a felony or a crime of moral turpitude, and that he is over the age of 18
     and competent to make this verification. Accordingly, Mr. Stumbaugh verifies that the facts
     alleged in Section I Verified Denial of the foregoing pleading are within his personal knowledge
     and are true and correct.




                    Subscribed and sworn to before me on this 15th day of December 2020.



                                                            A~ ~
                                                         NOTARY PUBLIC in and for the State of Texas
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                                                 CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing document has been
     forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
     Procedure on December 15, 2020.
                                                         /sf   B. Kyle Briscoe
                                                         B. Kyle Briscoe




     DEFENDANT'S ORIGINAL ANSWER AND VERIFIED DENIAL                                             Page 5 of 5
